  Case 24-04323          Doc 34      Filed 06/18/24 Entered 06/18/24 11:18:56                      Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

RE: MAURICIA SAENZ                                      )        Case No. 24 B 04323
                                                        )
                                                        )        Chapter 13
     Debtor(s)                                          )
                                                        )        Judge: TIMOTHY A BARNES

                        NOTICE OF MOTION & CERTIFICATE OF SERVICE


MAURICIA SAENZ                                                   VW LAW LLC
1699 PARK AVE                                                    via Clerk's ECF noticing procedures
HANOVER PARK, IL 60133

PLEASE TAKE NOTICE that on June 27, 2024 at 10:30 am., I will appear before the
Honorable Judge TIMOTHY A BARNES or any judge sitting in the judge's place, either in
Courtroom 744, Everett McKinley Dirksen United States Courthouse, 219 S. Dearborn Street,
Chicago, IL 60604, or electronically as described below, and present the motion of trustee to
dismiss for failure to make plan payments, a copy of which is attached.

Important: Only parties and their counsel may appear for presentment of the motion
electronically using Zoom for Government. All others must appear in person.

    To appear by Zoom using the internet, go to this link: https://www.zoomgov.com. Then
    enter the meeting ID and passcode.

    To appear by Zoom using a telephone, call Zoom for Government at 1-669-254-5252 or
    1-646-828-7666. Then enter the meeting ID and passcode.

    Meeting ID and passcode. The meeting ID for this hearing is 161 329 5276 and the
    passcode is 433658. The meeting ID and passcode can also be found on the judge’s page on
    the court’s web site.

If you object to this motion and want it called on the presentment date above, you must file a
Notice of Objection no later than two (2) business days before that date. If a Notice of Objection
is timely filed, the motion will be called on the presentment date. If no Notice of Objection is
timely filed, the court may grant the motion in advance without a hearing.

I, Besira Nikolla a non-attorney, declare under penalty of perjury under the laws of the United
States of America that I served a copy of this notice and the attached motion on each entity
shown on the attached list at the address shown by U.S. mail or by the methods indicated on June
18, 2024.

                                                                              /s/ Besira Nikolla
Thomas H. Hooper
Chapter 13 Trustee
55 E. Monroe St., Suite 3850
Chicago, IL 60603
(312) 294-5900
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RE: MAURICIA SAENZ                                   )         Case No. 24 B 04323
                                                     )
                                                     )         Chapter 13
     Debtor(s)                                       )
                                                     )         Judge: TIMOTHY A BARNES




                 MOTION TO DISMISS FOR FAILURE TO MAKE PLAN PAYMENTS


Now comes Thomas H. Hooper, Trustee and requests that this case be dismissed pursuant to 11
U.S.C. §1307(c)(6), and in support thereof respectfully states the following:

On March 25, 2024 the debtor filed a petition under Chapter 13 of Title 11 U.S.C.

Pursuant to 11 U.S.C. § 1326 (a)(1), "Unless the court orders otherwise, the debtor shall
commence making payments not later than 30 days after the date of filing of the plan or the order
for relief, whichever is earlier..."

The status of the debtor's plan is:

                     Current Month        Cash Due                 Cash Received          Payment Default
                           3              $434.66                      $0.00                 $434.66


A summary of the 3 most recent receipt items is set forth below:        Report Date: 06/18/2024
                                                                        Due Each Month: $217.33
                                                                        Next Payment Due: 06/24/2024


Receipt Date                 Ref Number                                                       Amount



WHEREFORE, the Trustee prays that this case be dismissed, and for any and all other relief this
Court deems just and proper.


                                                                            /s/ Thomas H. Hooper

                                                                            Thomas H. Hooper, Trustee
Thomas H. Hooper
Chapter 13 Trustee
55 E. Monroe St., Suite 3850
Chicago, IL 60603
(312) 294-5900
